      Case 2:08-cr-00054-JLQ    ECF No. 123    filed 06/26/09   PageID.772 Page 1 of 1




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 2
                             UNITED STATES DISTRICT COURT
 3
                           EASTERN DISTRICT OF WASHINGTON
 4
 5    UNITED STATES OF AMERICA,
 6                                                    NO. CR-08-00054-1 & 2-JLQ
           Plaintiff,
 7
         vs.                                          ORDER DISMISSING COUNT 15
 8                                                    WITH PREJUDICE
 9    JIMMY J. JENSEN; RYAN M. JENSEN,
10         Defendants.
11
12         IT IS HEREBY ORDERED:
13         1. The Government's Motion for Order of Dismissal with Prejudice (Ct. Rec. 116)
14   and corresponding Motion to Expedite (Ct. Rec. 119) are GRANTED pursuant to Fed. R.
15   Crim. P. 48(a).
16         2. Count 15 of the Indictment is hereby DISMISSED with prejudice as to both
17   Defendants.
18         The Clerk is hereby directed to enter this Order, enter judgment of dismissal of
19   Count 15 with prejudice, and furnish copies to counsel.
20         DATED this 26th day of June, 2009.
21                               s/ Justin L. Quackenbush
                               JUSTIN L. QUACKENBUSH
22                       SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 1
